 Fill in this information to identify the case:
 Debtor 1
                 Thomas R. Guiffre
 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the:      Middle District of Pennsylvania
                                                                          (State)

 Case number       5:19-bk-01555-MJC

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                          12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: Lakeview Loan Servicing, LLC                              Court claim no. (if known): 16

                                                                            Date of payment change:                     01/01/2022
                                                                            Must be at least 21 days after date
Last four digits of any number you                 1890                     of this notice
use to identify the debtor's account:

                                                                            New total payment:                          $2,624.97
                                                                            Principal, interest, and escrow, if any




Part 1:          Escrow Account Payment Adjustment

1.    Will there be a change in the debtor's escrow account payment?
    No                 Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
  X Yes                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:        $1,128.03                       New escrow payment:         $1,165.45


Part 2:          Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
  X No                 Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
      Yes              attached, explain why:
                       ____________________________________________________________________________________________
                       Current Interest Rate: _____%                                New interest rate: _____%
                       Current principal and interest payment:       $                New principal and interest payment:       $

Part 3:          Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
  X No       Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                       agreement. (Court approval may be required before the payment change can take effect)
      Yes
                       Reason for change: ____________________________________________________________________________

                       Current mortgage payment:        $$______                      New mortgage payment:           $______




Official Form 410S1                                       Notice of Mortgage Payment Change                                                    Page 1

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Debtor 1     Thomas R. Guiffre                                                        Case Number (if known)
                                                                                                               5:19-bk-01555-MJC
             First Name                Middle Name            Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
      o I am the creditor.
      R I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.


 O          /s/ Michael Clark                                                            Date   12/10/2021
     Signature


 Print:                   Michael Clark                       Bar No.: 202929           Title     Bankruptcy Attorney
                          First name         Middle Name      Last name


 Company                  RICHARD M. SQUIRE & ASSOCIATES, LLC

 Address                  115 West Avenue, Suite 104,
                          Number                Street

                          Jenkintown, PA 19046
                          City                  State         Zip Code


 Contact phone            (215) 886-8790             Email:   mclark@squirelaw.com




Official Form 410S1                                           Notice of Mortgage Payment Change                                    Page 2




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                              IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In Re:   Thomas R. Guiffre                                   Chapter: 13

                                                             Bankruptcy No.: 5:19-bk-01555-MJC
                                     Debtor                  11 U.S.C. § 362



Lakeview Loan Servicing, LLC

                                                   Movant
                            vs.
Thomas R. Guiffre
                                                    Debtor
                            and
Jack N Zaharopoulos
                                                   Trustee
                                         RESPONDENTS


                                           CERTIFICATE OF SERVICE

         I hereby certify that I am over 18 years of age; and that service upon all interested parties, indicated below,
was made by sending true and correct copies of the Notice of Mortgage Payment Change electronically and/or via
First Class Mail, postage prepaid.

Date Served: December 10, 2021

Jack N Zaharopoulos
Chapter 13 Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101

Thomas R. Guiffre
350 Autumn Lane
E. Stroudsburg, PA 18301

Philip W. Stock
706 Monroe Street
Stroudsburg, PA 18360




Case 5:19-bk-01555-MJC                Doc Filed 12/10/21 Entered 12/10/21 11:12:42                              Desc
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     I hereby certify the foregoing to be true and correct under penalty of perjury.

                                                   Respectfully submitted,

                                                    /s/ Michael Clark
                                                   Richard M. Squire, Esq.
                                                   M. Troy Freedman, Esq.
                                                   Michael J. Clark, Esq.
                                                   One Jenkintown Station, Suite 104
                                                   115 West Avenue
                                                   Jenkintown, PA 19046
                                                   215-886-8790
                                                   215-886-8791 (FAX)
                                                   rsquire@squirelaw.com
                                                   tfreedman@squirelaw.com
                                                   mclark@squirelaw.com




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                                        Representation of Printed Document
                                                                                                                                       A N N UA L E S C R O W S TAT E M E N T
                                                Pay by mail:
                                                Flagstar Bank • PO Box 660263
                                                Dallas, TX 75266-0263
                                                                                                                    Loan Number:
                                                                                                                    Property Address: 350 Autumn Lane
                                                                                                                    Escrow Analysis Date:                           10/22/2021
                                                                                                                    New Payment:                                     $2,624.97
                                                                                                                    New Payment Effective Date:                     01/01/2022
         THOMAS R GUIFFRE
         350 AUTUMN LANE
         EAST STROUDSBURG PA 18301

                                                                                                                                      Pay by website:
                                                                                                                                      flagstar.com/myloans

                                                                                                                                      Customer service:
                                                                                                                                      (800) 968-7700
                                                                                                                                      Monday-Friday 7:30 a.m.-8 p.m., ET
Dear Thomas R Guiffre,                                                                                                                Saturday 7:30 a.m.-4 p.m., ET
Each year Flagstar Bank reviews the escrow account to ensure the correct amounts are being collected to pay the property taxes and
homeowner's insurance. In reviewing the escrow account, we found an extra $4,637.51 was paid.

Quick breakdown of the Escrow review
Required Escrow Balance                                                      $5,024.70
Bankruptcy Claim                                                              $2,881.59
Current Escrow Balance*                                                       $6,780.62
There is a surplus of                                                        $4,637.51
*Based on all payments and disbursements due being made prior to the new payment effective
date.
For more escrow related information, please reference your Bankruptcy documents filed with
the court.




Review the Payment

Old Mortgage Payment                                                                           New Mortgage Payment
Principal & Interest                                                          $1,459.52        Principal & Interest                                                      $1,459.52
Escrow                                                                        $1,128.03        Escrow                                                                    $1,165.45

Monthly Mortgage Payment                                                     $2,587.55         New Monthly Mortgage Payment                                             $2,624.97
                                                                                               The new monthly payment is effective January 01, 2022.




How the Escrow Payment Is Calculated                                                           Determining the Escrow Surplus
The new monthly escrow payment is calculated by adding all of the                              As allowed by the Real Estate Settlement Procedures Act (RESPA), the mortgage
disbursements then dividing this figure by 12 months, which equals $1,165.45.                  documents, or state law, the escrow balance should not go below two months'
                                                                                               tax and insurance payments, which is a minimum balance of $2,009.90.
Mortgage Insurance                              $1,926.00       /12=             $160.50
Taxes                                           $1,739.60       /12=             $144.97       The projected escrow balance in September is expected to be $3,765.82.
Taxes                                           $7,744.75       /12=             $645.40
Insurance                                       $2,575.00       /12=             $214.58       Required Minimum Balance:                                                 $2,009.90
                                                                                               Bankruptcy Escrow Claim:                                                  $2,881.59
                                                                                               Projected Balance:                                                        $3,765.82
Escrow Payment                                                               $1,165.45         Escrow Surplus                                                           $4,637.51
                                                                                               If the loan is contractually current, the refund check has been mailed under
                                                                                               separate cover. If the loan is past due, a check representing the surplus in the
                                                                                               escrow account will be issued when the loan has been paid current.

  Equal Housing Lender          Member FDIC

                                              (Detach and return the bottom portion with payment. Retain the top portion for your records.)




                                                 This space has been left blank intentionally.




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Important Information
If you have auto debit for your mortgage payment and have an additional principal amount included, the principal amount will not change but will
be added to your new payment amount. To change your monthly principal amount, please submit a signed written request to our Auto Debit
Department at: Fax: (888) 548-0528, or Mail: Flagstar Bank, Auto Debit Department, Mail Stop E-115-3, 5151 Corporate Drive, Troy MI 48098




Review the Upcoming Escrow Account Activity (01/01/22 to 12/01/22)
The items below reflect the payments we expect to receive each month for the escrow account and the payments we expect to make on your behalf
for the real estate taxes and/or insurance premiums.
Month           Item Description                  Payment to Escrow Payment from Escrow           Expected Balance        Required Balance
                Beginning Balance                                                                      $6,780.62              $5,024.70
01/22           Mortgage Insurance                    $1,165.45                 -$160.50               $7,785.57              $6,029.65
02/22           Mortgage Insurance                    $1,165.45                 -$160.50               $8,790.52              $7,034.60
03/22           Mortgage Insurance                    $1,165.45                 -$160.50               $9,795.47              $8,039.55
04/22           Mortgage Insurance                    $1,165.45                 -$160.50             $10,800.42               $9,044.50
04/22           Taxes                                   $0.00                 -$1,739.60               $9,060.82              $7,304.90
05/22           Mortgage Insurance                    $1,165.45                 -$160.50             $10,065.77               $8,309.85
06/22           Mortgage Insurance                    $1,165.45                 -$160.50             $11,070.72               $9,314.80
07/22           Mortgage Insurance                    $1,165.45                 -$160.50             $12,075.67              $10,319.75
08/22           Mortgage Insurance                    $1,165.45                 -$160.50             $13,080.62              $11,324.70
09/22           Mortgage Insurance                    $1,165.45                 -$160.50             $14,085.57              $12,329.65
09/22           Taxes                                   $0.00                 -$7,744.75               $6,340.82              $4,584.90
09/22           Insurance                               $0.00                 -$2,575.00               $3,765.82              $2,009.90
10/22           Mortgage Insurance                    $1,165.45                 -$160.50               $4,770.77              $3,014.85
11/22           Mortgage Insurance                    $1,165.45                 -$160.50               $5,775.72              $4,019.80
12/22           Mortgage Insurance                    $1,165.45                 -$160.50               $6,780.67              $5,024.75
                Total                                $13,985.40              -$13,985.35

Review the Escrow Account History (01/01/21 to 12/31/21)
The items below reflect the expected activity last year and compare it with the actual payments received and disbursements made.

Last year, we anticipated that payments from the escrow account would be made during this period equaling $13,536.30. Under federal law, the
lowest monthly balance should not have exceeded $1,927.94 or two (2) months of anticipated payments from the escrow account, unless the
mortgage documents or state law specifies a lower amount. The actual lowest monthly balance was -$634.09.

                                                     PROJECTED                                                  ACTUAL
                       Item           Payment to       Payment from      Escrow Running       Payment to      Payment from         Escrow Running
Month
                    Description         Escrow            Escrow             Balance            Escrow           Escrow                Balance

Beginning Balance                                                           $4,819.79                                                 $3,169.93

January        Mortgage Insurance        $1,128.03           $164.06         $5,783.76          $1,362.72              $0.00          $4,532.65

January        Mortgage Insurance            $0.00             $0.00         $5,783.76               $0.00          $164.06           $4,368.59

February       Mortgage Insurance        $1,128.03           $164.06         $6,747.73          $1,362.72              $0.00          $5,731.31

February       Mortgage Insurance            $0.00             $0.00         $6,747.73               $0.00          $164.06           $5,567.25

March          Mortgage Insurance        $1,128.03           $164.06         $7,711.70               $0.00             $0.00          $5,567.25

March          Mortgage Insurance            $0.00             $0.00         $7,711.70               $0.00          $164.06           $5,403.19

April          Mortgage Insurance        $1,128.03           $164.06         $8,675.67          $1,362.72              $0.00          $6,765.91

April          Taxes                         $0.00         $1,739.58         $6,936.09               $0.00        $1,739.60           $5,026.31

April          Mortgage Insurance            $0.00             $0.00         $6,936.09               $0.00          $164.06           $4,862.25

May            Mortgage Insurance        $1,128.03           $164.06         $7,900.06               $0.00             $0.00          $4,862.25

May            Mortgage Insurance            $0.00             $0.00         $7,900.06               $0.00          $164.06           $4,698.19

June           Mortgage Insurance        $1,128.03           $164.06         $8,864.03          $2,256.06              $0.00          $6,954.25

June           Mortgage Insurance            $0.00             $0.00         $8,864.03               $0.00          $164.06           $6,790.19

July           Mortgage Insurance        $1,128.03           $164.06         $9,828.00          $1,128.03              $0.00          $7,918.22

July           Mortgage Insurance            $0.00             $0.00         $9,828.00               $0.00          $164.06           $7,754.16

August         Mortgage Insurance        $1,128.03           $164.06        $10,791.97          $1,128.03           $164.06           $8,718.13

September      Mortgage Insurance        $1,128.03           $164.06        $11,755.94          $1,128.03              $0.00          $9,846.16

September      Taxes                         $0.00         $7,440.00         $4,315.94               $0.00        $7,744.75           $2,101.41

September      Insurance                     $0.00         $2,388.00         $1,927.94               $0.00        $2,575.00            -$473.59

September      Mortgage Insurance            $0.00             $0.00         $1,927.94               $0.00          $160.50            -$634.09
October        Mortgage Insurance        $1,128.03 @         $164.06 @       $2,891.91          $5,640.15              $0.00          $5,006.06




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                                                                                                   » ANNUAL ESCROW STATEMENT continued

                                                                                              Loan Number:
                                                                                              Property Address: 350 Autumn Lane




        THOMAS R GUIFFRE
        350 AUTUMN LANE
        EAST STROUDSBURG PA 18301




Review the Escrow Account History (01/01/21 to 12/31/21) Continued
                                                      PROJECTED                                                   ACTUAL
                       Item            Payment to       Payment from      Escrow Running       Payment to       Payment from      Escrow Running
Month
                    Description          Escrow            Escrow             Balance            Escrow            Escrow             Balance

October        Mortgage Insurance             $0.00             $0.00         $2,891.91               $0.00           $160.50          $4,845.56
November       Mortgage Insurance         $1,128.03 @         $164.06 @       $3,855.88           $1,128.03           $160.50          $5,813.09
December       Mortgage Insurance         $1,128.03 @         $164.06 @       $4,819.85           $1,128.03           $160.50          $6,780.62

Total                                    $13,536.36        $13,536.30                            $17,624.52        $14,013.83

The item indicated in red is the difference from a previous estimate either in date or the amount. An @ symbol indicates a scheduled payment to or
from the escrow account which has not been made. Enclosed you will find a guide and answers to frequently asked questions to further assist you
with understanding the escrow account and the terms in this statement.

If you have any questions, you can contact us via chat at flagstar.com or call us at (800) 968-7700.

Questions with regard to a change in your tax payment should be directed to your taxing authority and changes in your insurance premium should
be directed to your insurance agent.




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                                                                                                                » ANNUAL E SCR O W STATE ME NT G U ID E




               Get to know your escrow statement.
                We want this statement to be a useful mortgage management tool that offers you the opportunity to
                easily understand information about the escrow account. This guide outlines the details provided on
                the statement, explains the items that may appear, and defines the terms that are used.

 How to read the statement:

  A       Loan Information
          This section provides the new payment
          amounts and the date when the new                                                                     Pay by mail:
                                                                                                                                                                                                                " //6" -& 4 $ 3 0 845"5&.&/5


          payment is effective.                                                                                 PO Box 660263
                                                                                                                Dallas, TX 75266-0263                                            -PBO/VNCFS
                                                                                                                                                                                 1SPQFSUZ"EESFTT4USFFU"WF%SJWF


                                                                                   /BNF-JOF                                                           A                      Escrow Analysis Date:                                         12/01/2016

  B       Payment Options and Contact Information                                  /BNF-JOF
                                                                                   4FDPOE4USFFU
                                                                                                                                                                                 /FX1BZNFOU:                $12,000.00
                                                                                                                                                                                 /FX1BZNFOUE ective Date: 01/01/2017
          We offer several convenient methods                                      )PNFUPXO .*


          to make the payments.
                                                                                                                                                           B                                                  Customer service:
                                                                                                                                                                                                              (800) 968-7700
                                                                                                                                                                                                              Monday-Friday 7:30 a.m. - 8 p.m.,
 C        Explanation of Escrow Analysis                                                                                                                                                                      ETSaturday 7:30 a.m. - 4 p.m., ET


          Summarizes the results of the annual escrow              &BDIZFBS'MBHTUBS#BOLSFWJFXTZPVSFTDSPXBDDPVOUUPFOTVSFUIFDPSSFDUBNPVOUTBSFCFJOHDPMMFDUFEUPQBZZPVSQSPQFSUZUBY FTBOEIPNFPXOFST
                                                                   JOTVSBODF*OSFWJFXJOHZPVSFTDSPXBDDPVOU XFGPVOEZPVQBJEBOFYUSB
          analysis and explains the change(s) to the
                                                                   2VJDLCSFBLEPXOPGUIFFTDSPXSFWJFX
          tax and/or insurance premiums and the                    3FRVJSFE&TDSPX#BMBODF                                              
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                                                                   -FTT1SPKFDUFE#BMBODF                                                                              03%&30'

                                                                                                                                                                                                   See Attached Escrow Surplus Check                   DOLLARS
                                                                                                                                                                                                                                                       D
                                                                                                                                                                                                                                                                 Security
                                                                                                                                                                                                                                                                 Features




          effect it will have on the monthly mortgage
                                                                                                                                                                                                                                                                 Details on
                                                                                                                                                                                                                                                                 Back.




                                                                                                                                                                                    '03                                                                            .1


                                                                                                                                                                                    000000000


                                                                   :PVIBWFBTVSQMVTPG                                                  
          payment.                                                 date.
                                                                                                                                                                                                                                                                              




 D Review the Payment                                              3FWJFX5IF1BZNFOU0QUJPOT                             D
   This section explains exactly how the old and                   0ME.PSUHBHF1BZNFOU                                                                  /FX.PSUHBHF1BZNFOU
                                                                   1SJODJQBM*OUFSFTU                                                         1SJODJQBM*OUFSFTU                                                                             
   new monthly payments are broken down for                        &TDSPX                                                                       &TDSPX                                                                                           

                                                                   .POUIMZ.PSUHBHF1BZNFOU                                                     /FX.POUIMZ.PSUHBHF1BZNFOU                                                                    
   principal, interest, and escrow amounts.

  E       How the Escrow Payment is Calculated
                                                                   )PX5IF&TDSPX1BZNFOU*T$BMDVMBUFE                                 E                                                                                                      F
          Provides the calculation used to determine               :PVSOFXNPOUIMZFTDSPXQBZNFOUJTDBMDVMBUFECZBEEJOHBMMPGZPVSEJTCVSTFNFOUT     "TBMMPXFECZUIF3FBM&TUBUF4FUUMFNFOU1SPDFEVSFT"DU 3&41" ZPVSNPSUHBHF
                                                                                                                                                 EPDVNFOUT PSTUBUFMBX UIFFTDSPXCBMBODFTIPVMEOPUHPCFMPXUXPNPOUIT

          the monthly escrow payment.                              .PSUHBHF*OT                                                 
                                                                                                                                                         UBYBOEJOTVSBODFQBZNFOUT XIJDIJTBNJOJNVNCBMBODFPG

                                                                   )B[BSE*OT                                                         :PVSQSPKFDUFEFTDSPXCBMBODFJO+VMZJTFYQFDUFEUPCF
                                                                   $PVOUZ5BY                                                   
                                                                                                                                                         1SPKFDUFE#BMBODF                                                                               
                                                                                                                                                         3FRVJSFE.JOJNVN#BMBODF                                                                        
  F       How the Escrow Surplus is Calculated
                                                                   &TDSPX1BZNFOU                                                               &TDSPX4VSQMVT                                                                                    
          This section shows how to determine the
          escrow shortage/surplus, and the minimum                    &RVBM)PVTJOH-FOEFS .FNCFS'%*$                                                                                                                                               1BHFPG9


          balance required in the escrow account at
          all times.

  G Escrow Surplus Check                                                                                                                               G
    If the loan is current at the time of the analysis,
    a check representing the escrow surplus will
    be attached to the escrow statement. If there is
    a minor surplus, instead of issuing a refund
    check, the funds will be deducted from the
    monthly payment(s).
                                                                           *NQPSUBOU*OGPSNBUJPO
                                                                                                                H
                                                                           2VFTUJPOTXJUISFHBSEUPBDIBOHFJOZPVSUBYQBZNFOUTIPVMECFEJSFDUFEUPZPVSUBYJOHBVUIPSJUZBOEDIBOHFTJOZPVSJOTVSBODFQSFNJVNTIPVME

 H Important Information                                                   CFEJSFDUFEUPZPVSJOTVSBODFBHFOU
                                                                           *GZPVIBWFBVUPEFCJUGPSZPVSNPSUHBHFQBZNFOUBOEIBWFBOBEEJUJPOBMQSJODJQBMBNPVOUJODMVEFE UIFQSJODJQBMBNPVOUXJMMOPUDIBOHFCVUXJMM
                                                                           CFBEEFEUPZPVSOFXQBZNFOUBNPVOU5PDIBOHFZPVSNPOUIMZQSJODJQBMBNPVOU QMFBTFTVCNJUBTJHOFEXSJUUFOSFRVFTUUPPVS"VUP%FCJU
   Special messages or announcements about                                 %FQBSUNFOUBU'BY   PS.BJM'MBHTUBS#BOL "VUP%FCJU%FQBSUNFOU .BJM4UPQ& $PSQPSBUF%SJWF 5SPZ.*

                                                                           3FWJFX5IF6QDPNJOH&TDSPX"DDPVOU"DUJWJUZ(07/01/16 to 06/01/17)
   the account are shown here. Also, details on                            5IFJUFNTCFMPXSFGMFDUUIFQBZNFOUTXFFYQFDUUPSFDFJWFFBDINPOUIGPSZPVSFTDSPXBDDPVOUBOEUIFQBZNFOUTXFFYQFDUUPNBLF POZPVSCFIBMG


   the necessary action to take if the payment is
                                                                           GPSZPVSSFBMFTUBUFUBYFTBOEPSJOTVSBODFQSFNJVNT
                                                                           Month           Item Description                  Payment to Escrow    Payment from Escrow        Expected Balance
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                                                                                                                                                                                                     Required Balance
                                                                                           #FHJOOJOH#BMBODF                                                                                       
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   set up through an automatic method will be                              
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  I       Upcoming Escrow Activity                                         
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          This is the expected payments to and disburse-                   
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          ments from the escrow account. The expected                                     5PUBM%JTCVSTFNFOUT                                                                                                  

                                                                           3FWJFX5IF&TDSPX"DDPVOU)JTUPSZ(05/01/16 to 06/30/16)
          payments are based off of the actual amounts                                                                                                                          J
                                                                           5IFJUFNTCFMPXSFGMFDUUIFFYQFDUFEBDUJWJUZMBTUZFBSBOEDPNQBSFJUXJUIUIFBDUVBMQBZNFOUTSFDFJWFEBOEEJTCVSTFNFOUTNBEF

                                                                           -BTUZFBS XFBOUJDJQBUFEUIBUQBZNFOUTGSPNZPVSBDDPVOUXPVMECFNBEFEVSJOHUIJTQFSJPEFRVBMJOH 6OEFSGFEFSBMMBX ZPVSMPXFTU
          paid the prior year. The minimum balance will                    NPOUIMZCBMBODFTIPVMEOPUIBWFFYDFFEFE PSUXP  NPOUITPGBOUJDJQBUFEQBZNFOUTGSPNZPVSFTDSPXBDDPVOU VOMFTTZPVSNPSUHBHF
                                                                           EPDVNFOUTPSTUBUFMBXTQFDJãFTBMPXFSBNPVOU:PVSBDUVBMMPXFTUNPOUIMZCBMBODFXBT

          be noted with an asterisk ( * ).                                 130+&$5&%                                                                                                                                       "$56"-
                                                                                                  Item             Payment to       Payment from       Escrow Running       Payment to                           Payment from         Escrow Running
                                                                           Month
                                                                                               Description           Escrow            Escrow              Balance            Escrow                                Escrow                Balance

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  J       Escrow Account History                                           .BZ             3CQ.JQ                                                                                                           
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          This section will show you the actual pay-                       +VMZ            3CQ.JQ                      !             !                                                                        



          ments into, and disbursements out of the
          escrow account for the last analysis period.
          This information can be helpful to you when
          determining changes with the escrowed
          items that caused a change to the payment.


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                                                                                                                   » E SC R O W S TATE MEN T FAQ S



 What is an escrow analysis?
 An escrow analysis is a review of your escrow account to determine if the current monthly escrow payment is enough to pay taxes, insurance,
 and other bills when due. Escrow analyses are typically run annually based on the property tax payment cycle. Occasionally, the payment of taxes
 or insurance causes the escrow account to reach a negative balance, and it may be necessary to perform more than one analysis during the year.

 Can I waive my escrow account?
 Escrow accounts are required and cannot be waived on FHA (Federal Housing Administration), GRH (Guaranteed Rural Housing) or VA (Veteran
 Affairs) loans.

 Escrow accounts on other types of loans, such as Fannie Mae or Freddie Mac loans, may be waived if certain conditions are met. Some basic
 conditions to determine eligibility for escrow waivers are:

        • The loan-to-value ratio of your loan must be 80 percent or less.

        • There have not been any payments over 30 days late in the last 12 months.

        • Loan is not in a Special Flood Hazard Area (SFHA).

        • The loan cannot be in foreclosure, bankruptcy or loss mitigation.

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               and requirements             may apply;
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                                                                                                         download        the Escrow
                                                                                                                   the Escrow WaiverWaiver
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 flagstar.com,   completecomplete
 flagstar.com/myloans,     it, and fax it,
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 Please note that an escrow waiver fee equal to 0.25 percent of the current principal balance or $150, whichever is greater, is charged.
 This fee will be charged unless not permitted by applicable state law.

 Why do I have an escrow surplus?
 A surplus is typically caused by a decrease in tax or insurance payments, but a surplus can also occur when too much has been
 collected for the escrow account in the previous year or at closing. It is possible to have a surplus, even if tax and insurance amounts
 have increased over the past year. When this occurs, the monthly escrow payment may still be increased to ensure there are enough
 funds to pay the increased taxes and insurance.

 Note: If there is a minor surplus, instead of issuing a refund, the funds are used to reduce the monthly payment(s). The surplus is divided
 by the number of months starting with the “new payment due date” and ending after the month of the “low point” in the escrow
 account. The new escrow payment is reduced for this number of payments. Please refer to the Escrow Statement to determine if the
 surplus was retained in the escrow account.

 Can you apply my surplus to my loan?
 We refund escrow surpluses to the borrowers. Borrowers may cash their surplus check and use the funds in any manner they choose,
 including applying it to their loans.

 When will I receive my escrow surplus check?
 If the loan is current, the surplus check will be mailed 7 – 10 business days from when it was processed. If the loan is past due, a surplus
 refund check will be disbursed when the loan is current.

 If you are in bankruptcy and the account is contractually current, the refund check will be mailed separately 7 – 10 days from when it
 was processed. However, if the account is past due, the escrow surplus check will be disbursed when the account is current.

 Why didn’t I receive my escrow surplus check?
 If the loan was past due at the time the escrow analysis was performed, the escrow surplus check will be disbursed when the loan
 becomes current. If you have not received the escrow surplus check after you have brought the loan current, please contact the
 Customer Service Department.

 What if my surplus check was lost or stolen?
 If you lost the surplus check after receiving it or it was stolen, please contact the Customer Service Department so we can place a stop
 payment on the check and reissue.

 Whom do I contact to update my loan with the correct tax amounts information?
 Since we may already receive the tax information from the taxing authority, please call the Customer Service Department to discuss the
 information we may need from you.

 My insurance carrier has changed. What do I do?
 Please call the Insurance Department at (833) 811-3061. Representatives are available Monday - Friday 7:30 a.m.-8 p.m. ET.



 Please refer to flagstar.com/myloans for a full list of Escrow FAQs.




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